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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES –
                                    GENERAL


  Case No.      5:24-cv-01940-SSS-SHKx                            Date May 28, 2025
  Title American Institute of Certified Public Accountants v. Stephen Lau


  Present: The Honorable        SUNSHINE S. SYKES, UNITED STATES DISTRICT JUDGE


                Irene Vazquez                                      Not Reported
                 Deputy Clerk                                      Court Reporter


     Attorney(s) Present for Plaintiff(s):              Attorney(s) Present for Defendant(s):
                 None Present                                       None Present

  Proceedings: (IN CHAMBERS) ORDER REFERRING PARTIES TO
               MAGISTRATE JUDGE SHASHI H. KEWALRAMANI
               FOR SETTLEMENT CONFERENCE

       On May 23, 2025, the Court inadvertently referred the parties to Magistrate
 Judge David T. Bristow for purposes of a settlement conference. The Court now
 corrects its order by referring the parties to the assigned magistrate judge, Shashi
 H. Kewalramani, by way of this Order. Therefore, the Court hereby DIRECTS
 the parties to contact Magistrate Judge Kewalramani’s Courtroom Deputy Clerk, at
 SHK_Chambers@cacd.uscourts.gov for scheduling purposes.

      The parties are further DIRECTED to review and to comply strictly with
 Magistrate Judge Kewalramani’s procedures for Settlement Conferences.

      The parties shall notify Judge Sykes’ Courtroom Deputy Clerk, at
 SSS_Chambers@cacd.uscourts.gov, regarding the result of their settlement efforts.

        IT IS SO ORDERED.



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